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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    GOPRO, INC.,                                     Case No. 16-cv-01944-SI
                                   8                  Plaintiff,
                                                                                         ORDER GRANTING PLAINTIFF'S
                                   9            v.                                       MOTION FOR RECONSIDERATION
                                  10    360HEROS, INC.,                                  Re: Dkt. No. 159
                                  11                  Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Currently before the Court is plaintiff GoPro’s motion for leave to file a motion for
                                  14   reconsideration. Dkt. No. 159. GoPro seeks reconsideration of a limited portion of the Court’s
                                  15   November 28, 2017 Order limiting the deposition of Mr. Kinter to three hours. Dkt. No. 151.
                                  16          Having carefully considered the papers submitted, the Court hereby GRANTS plaintiff’s
                                  17   request for leave to file a motion for reconsideration and will treat plaintiff’s papers as such.
                                  18   Accordingly, the Court hereby orders that Mr. Kinter may be deposed for up to six (6) hours,
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                                  20          IT IS SO ORDERED.
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                                  22   Dated: January 26, 2018
                                  23                                                  ______________________________________
                                                                                      SUSAN ILLSTON
                                  24                                                  United States District Judge
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